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USA
        Plaintiff,

v.                                               Case Number 2:20-cr-62-1, 2
                                                 Judge Sarah D. Morrison
Steven G. Rosser
Whitney R. Lancaster,
      Defendants.

                                Jury Trial Day 5
                           Friday, February 18, 2022
                        before Judge Sarah D. Morrison

For Plaintiff: Kevin Kelley/Noah Litton
For Defendants: Robert Krapenc/David Thomas/Kathryn Wallrabenstein
Court Reporter: Allison Kimmel
Courtroom Deputy: Denise Shane

        8:57 am Jury Trial Day 5
        Judge meets with counsel, Ms. Wallrabenstein renews motion to sever, motion denied
        9:04 am Closing arguments by Mr. Litton, 524.2, 118, 117, 207
        10:19 am Closing by Mr. Krapenc, 107
        11:44 am Closing by Mr. Thomas
        12:26 pm Mr. Kelley, 117, 207, 401
        12:57 pm Instructions of law
        1: 40 pm Court is Recess Jurors deliberating
        2:37 pm Mr. Thomas motion for a mistrial
        2:39 pm Mr. Krapenc
        2:40 pm Mr. Kelley
        2:42 pm Mr. Krapenc
        Court denies both motions for mistrial
        2:45pm Court in Recess
        4:58 pm Court meets with counsel regarding notes.
        4:59 pm Jurors returned to Courtroom, jurors request to go home for the weekend and
        return on Tuesday, February 22, 2022 @ 9:00 a.m. to continue deliberating.
        5:06 pm Court adjourned.
